 Case 4:19-cr-40017-JPG Document 64 Filed 01/12/21 Page 1 of 5 Page ID #135




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,
 Plaintiff,

 v.                                                                   Case No. 19–CR–40017–JPG

 CARL A. STADELBACHER,
 Defendant.

                          MEMORANDUM OPINION AND ORDER

       Before the Court is Defendant Carl. A. Stadelbacher’s Motion to Suppress Evidence. (ECF

No. 56). The Government responded. (ECF No. 63). For the reasons below, the Court DENIES

Stadelbacher’s Motion.

  I.   PROCEDURAL & FACTUAL HISTORY

       In 2018, “Detective Asa Busby of the Union County Sherriff’s Office/Union County Drug

Task Force” filed a Complaint for Search Warrant in Illinois’s First Judicial Circuit Court. (Compl.

for Search Warrant 1, ECF No. 56, Ex. 1). The defendant named in the caption was “665 Wrights

Crossing Road” in Cobden, Illinois—Stadelbacher’s address. (Id.). That address was repeated in

the first paragraph alongside the following description: “a grey single mobile home with white

skirting, white roof.” (Id.). Busby then described how he discovered that Stadelbacher was

allegedly manufacturing methamphetamine in his bedroom, again repeating the description of

Stadelbacher’s mobile home. (Id. at 2). Finally, in the last paragraph, Busby included the

description for a third time but with a different address:
 Case 4:19-cr-40017-JPG Document 64 Filed 01/12/21 Page 2 of 5 Page ID #136




                 Pursuant to the above, it is believed that the evidence of the
                 offenses of Possession of Methamphetamine Manufacturing
                 Materials,. . ., Disposal of Methamphetamine Waste, . . . and
                 Possession of Methamphetamine . . . remains within the residence
                 and property located at 665 Hall Church Road, in Cobden, Union
                 County, Illinois, being a grey single mobile home with white
                 skirting, white roof including the outbuildings and surrounding
                 curtilage for items which constitute evidence.

(Id. at 3 (emphasis added)). The address 665 Hall Church Road did not appear elsewhere.

          The state judge issued a warrant after examining the Complaint. (Search Warrant 1, ECF

No. 56, Ex. 2). The caption again stated Stadelbacher’s address, 665 Wrights Crossing Road; and

the description of his mobile home mirrored that of the Complaint. (Id.). The first paragraph,

however, contained a different address:

                 Upon examination of the Complaint I find that it states facts
                 sufficient to show probable cause and I therefore command 103
                 Sycamore Street, Anna, Union County, Illinois, being a grey
                 single mobile home with white skirting, white roof including the
                 outbuildings and surrounding curtilage for items which constitute
                 evidence . . . .

(Id. (emphasis added)). The address 103 Sycamore Street also did not appear elsewhere.

          Detective Busby executed the Search Warrant on Stadelbacher’s mobile home at the

address stated in the caption, 665 Wrights Crossing Road. (Id. at 2). The Evidence Inventory and

Receipt Form—which also stated the correct address—noted that the search revealed several

articles of suspected drug paraphernalia. (Evidence Inventory & Receipt Form 1–3, ECF No. 63,

Ex. C).

          In March 2019, grand jury in this District indicted Stadelbacher for conspiring to

manufacture methamphetamine. (Indictment 1, ECF No. 1). The Court appointed an Assistant

Federal Public Defender, (Order 1, ECF No. 12), and gave Stadelbacher 21 days—until the start




                                              —2—
 Case 4:19-cr-40017-JPG Document 64 Filed 01/12/21 Page 3 of 5 Page ID #137




of April—to file a motion to suppress, (Order Regarding Pre-Trial Discovery & Motion Practice 2,

ECF No. 14).

       In July 2019, the Assistant Federal Public Defender moved to withdraw, citing “an actual

conflict of interest.” (Mot. to Withdraw 1, ECF No. 26). The Court appointed Stadelbacher a new

attorney, (Order Appointing Counsel 1, ECF No. 28), who moved to withdraw in January 2020

due to “a communication breakdown,” (Minute Entry 1, ECF No. 41). The Court then appointed

Stadelbacher’s current counsel in February 2020. (Order Appointing Counsel 1, ECF No. 45).

       In October 2020, Stadelbacher moved to suppress the evidence obtained during the search,

arguing that the Search Warrant was unconstitutionally defective because of the inconsistent

addresses. (Mot. to Suppress 1, ECF No. 56). The Government contends that the Motion is both

untimely and unmeritorious. (Gov’t Resp. 1, ECF No. 63). Stadelbacher did not reply.

 II.   LAW & ANALYSIS

       The Court will consider Stadelbacher’s tardy Motion to Suppress given the COVID-19

pandemic and the delays associated with it. At any rate, the Motion lacks merit: Busby readily

identified the place intended by the Search Warrant.

           A. Good Cause Warrants an Extension of Time.

       “If a party does not meet the deadline for making a [motion to suppress evidence], the

motion is untimely. But a court may consider the defense, objection, or request if the party shows

good cause.” Fed. R. Crim. P. 12(c)(3). “A defendant must satisfy the antecedent good-cause

requirement before [the] court may review the suppression motion.” United States v. Suggs,

703 Fed. App’x 425, 428 (7th Cir. 2017).

       As mentioned, the Court gave Stadelbacher until April 2019 to file a motion to suppress.

Since then, however, he has gone through several attorneys, each needing time to acclimate to the




                                             —3—
 Case 4:19-cr-40017-JPG Document 64 Filed 01/12/21 Page 4 of 5 Page ID #138




case. As an added complication, the COVID-19 pandemic saw greater restrictions on attorney-

client visits alongside public-health directives by the Centers for Disease Control and Prevention

aimed at reducing the number of in-person interactions. This proved especially difficult for those

members of the bar without video-teleconferencing experience. With that in mind, the Court finds

that good cause justifies an extension of time and will consider the merits of Stadelbacher’s

Motion.

           B. The Warrant Was Adequate Because There Was No Risk That Busby Might
              Inadvertently Search the Wrong Place.

       The Fourth Amendment requires that a warrant “particularly describ[e] the place to be

searched . . . .” U.S. Const. amend. IV. “[T]he ‘manifest purpose’ of the requirement is to prevent

‘the wide-ranging exploratory searches’ that the Framers faced and to limit each search ‘to the

specific areas and things for which there is probable cause.’ ” United States v. Kelly, 772 F.3d

1072, 1081 (7th Cir. 2014) (quoting Maryland v. Garrison, 480 U.S. 79, 84 (1987)). The Supreme

Court has mandated “strict adherence to that command” using the exclusionary rule: “a clear,

specific, and constitutionally required—even if judicially implied—deterrent safeguard without

insistence upon which the Fourth Amendment would have been reduced to ‘a form of words.’ ”

Mapp v. Ohio, 367 U.S. 643, 49 (1961) (quoting Silverthorne Lumber Co. v. United States,

251 U.S. 385, 392 (1920)).

       Not every error in a warrant, however, will lead to the suppression of evidence. Rather, a

description in a warrant is sufficient so long as the executing officer “can, with reasonable effort

ascertain and identify the place intended.” Steel v. United States, 267 U.S. 498, 503 (1925). In

other words, “minor technical errors or omissions do not automatically invalidate a warrant so long

as there is no danger that the officers might inadvertently search the wrong place.” Kelly, 772 F.3d

at 1081. That risk is greatly reduced when the affiant to a warrant-complaint is also the executing



                                              —4—
 Case 4:19-cr-40017-JPG Document 64 Filed 01/12/21 Page 5 of 5 Page ID #139




officer. See, e.g., United States v. Hutchings, 127 F.3d 1255, 1260 (10th Cir. 1997) (considering

“the executing officers’ knowledge of the place to be searched in determining the adequacy of a

warrant’s description” and concluding that the warrant, which accurately described the defendant’s

property but misidentified the address, was sufficient); Bonds v. State, 403 S.W.3d 867, 877 (Tex.

Crim. App. 2013) (holding that, where address in search warrant fit a nearby residence but most

of the detailed list of descriptive factors fit the house searched, the officer who “was both the

affiant and participated in the warrant's execution” had “familiarity with the location to be

searched” and thus could determine which of the two places was intended).

       Although the Complaint and Search Warrant here included different addresses, there was

no risk that Busby would search the wrong place. He was, after all, both the affiant of the

Complaint and the executor of the Search Warrant—he knew that Stadelbacher’s mobile home

was the object of the search. This was reflected in the captions; and the fact that the other two

addresses were not searched further suggests that their addition was harmless and likely the result

of carelessness. Moreover, the description of Stadelbacher’s mobile home was consistent and

repeatedly stated. Despite the apparent ambiguity, there was no chance that the error might lead to

another location being searched by mistake.

III.   CONCLUSION

       The Court DENIES Defendant Carl. A. Stadelbacher’s Motion to Suppress Evidence

       IT IS SO ORDERED.

Dated: Tuesday, January 12, 2021
                                                     S/J. Phil Gilbert
                                                     J. PHIL GILBERT
                                                     UNITED STATES DISTRICT JUDGE




                                              —5—
